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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


STRIKE 3 HOLDINGS, LLC,
                                                     Civil Action No. 1:24-cv-10488-FDS
             Plaintiff,

v.

JOHN DOE subscriber assigned IP address
73.142.43.48,

             Defendant.


            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                    PLAINTIFF’S MOTION FOR LEAVE TO SERVE
           A THIRD-PARTY SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

       Pursuant to Fed. R. Civ. P. 26(d)(1), Plaintiff hereby respectfully submits this

Memorandum of Points and Authorities in support of its Motion for Leave to serve a third-party

subpoena prior to a Rule 26(f) conference.

      I.     INTRODUCTION

       Plaintiff, Strike 3 Holdings, LLC (“Strike 3” or “Plaintiff”) is the owner of original,

award winning motion pictures featured on its brand’s subscription-based adult websites.

Unfortunately, Strike 3’s success has led users on the Internet to illegally infringe its works on a

very large scale. Indeed, Strike 3’s motion pictures are among the most infringed content in the

world. See Declaration of David Williamson, attached hereto as Exhibit “A.”

       Strike 3, using its proprietary forensic software, VXN Scan (“VXN”), monitored and

detected the infringement of Strike 3’s content.       See id. at ¶ 40.     VXN discovered that

Defendant’s IP address was illegally distributing several of Strike 3’s motion pictures. See

Declaration of Patrick Paige, attached hereto as Exhibit “B”. This IP address is assigned to

Defendant by his or her Internet Service Provider (“ISP”), which is the only party with the

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information necessary to identify Defendant by correlating the IP address with John Doe’s

identity. Id. at ¶ 28. As a result, Plaintiff now seeks leave to serve limited, immediate discovery

on Defendant’s ISP, Comcast Cable Communications, LLC (Comcast Cable), so that Plaintiff

may learn Defendant’s identity, investigate Defendant’s role in the infringement, and effectuate

service. Further impelling expediency, Defendant’s ISP only maintains the internal logs of the

requested information for a brief period of time.1

       Plaintiff seeks leave of Court to serve a Rule 45 subpoena on Defendant’s ISP. This

subpoena will only demand the true name and address of Defendant. Plaintiff will only use this

information to prosecute the claims made in its Complaint. Without this information, Plaintiff

cannot serve Defendant nor pursue this lawsuit and protect its copyrights.


     II.   FACTS

       A. Plaintiff Has a Serious Problem with BitTorrent Infringement

     Strike 3 holds title to the intellectual property associated with the Blacked, Blacked Raw,

MILFY, Slayed, Tushy, Tushy Raw, and Vixen adult brands (the “Brands”), including the

copyrights to each of the motion pictures distributed through the Brands’ sites and the

trademarks to each of the Brand’s names and logos. Decl. Williamson at ¶ 13. Strike 3 is owned

entirely by General Media Systems (“GMS”) and has existed since 2015. Id.

       Although it started out small, the Brands’ websites now host approximately 15 million

visitors each month. Id. at ¶ 14. This success is no fluke. Strike 3’s philosophy has always been


1
  See, e.g., Statement Of Jason Weinstein Deputy Assistant Attorney General Criminal Division
Before The Committee On Judiciary Subcommittee On Crime, Terrorism, And Homeland
Security      United    States    House        Of    Representatives,    (January     2011)    at
http://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/01/25/11//01-25-11-
crm-weinstein-testimony-re-data-retention-as-a-tool-for-investigating-internet-child-
pornography-and-other-internet-crimes.pdf, stating: “Some [ISP] records are kept for weeks or
months; others are stored very briefly before being purged.”
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to pay artists and models an amount above that being paid by other companies, focusing on

delivering superior quality films. Id. at ¶¶ 15–17. Moreover, Strike 3’s motion pictures are

known for having some of the highest production budgets of any in the adult industry. Id. at

¶ 19.

         Because of this commitment to quality, the websites for the Brands have a subscriber

base that is one of the highest of any adult sites in the world. Id. at ¶ 20. Strike 3 is also

frequently the number one seller of adult DVDs in the United States. Id. at ¶ 21. Finally, Strike

3’s content is licensed throughout the world, including by most major cable networks. Id. at

¶ 22. This success has led to numerous awards being bestowed upon Strike 3, such as “adult site

of the year,” “best marketing campaign – company image,” and “best cinematography.” Id. at

¶ 23.

        Unfortunately, piracy is a major threat and causes tremendous damage to Strike 3, and

Strike 3 “can compete in the industry, but [it] cannot compete when our content is stolen.” Id. at

¶ 26. To continue to provide value for members, exciting and inspiring projects for adult

performers, and to continue to create top paying jobs and growth in the adult community, Strike

3 must protect its copyrights. Id. at ¶ 39.

         B.      Plaintiff Brings Its Litigation in Good Faith

         Strike 3 is mindful of the nature of the litigation and its goal is to not disclose publicly the

choices that people make regarding the content they wish to enjoy. Moreover, Strike 3 does not

seek to force anyone to settle unwillingly, especially anyone that is innocent. Id. at ¶ 33.

Therefore, Strike 3 only files strong cases against extreme infringers. Id. at ¶ 34. Indeed, each

lawsuit is brought against infringers that not only engage in illegal downloading, but are also

large scale unauthorized distributors of Strike 3’s content. Id. Strike 3 does not seek settlements



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unless initiated by a defendant or a defendant’s counsel. Id. at ¶ 35. Additionally, Strike 3 does

not send demand letters. Id. Finally, although certainly Strike 3 does not believe anyone should

be embarrassed about enjoying Strike 3’s works (they just need to pay for that right, not steal it),

Strike 3 respects the desire of defendants to keep private their choices regarding the content they

choose to enjoy. Accordingly, Strike 3 has a policy to: (1) enter into confidentiality agreements

with defendants to facilitate resolution of a case; and (2) stipulate to requests by defendants to

the entry of orders in litigation to maintain the confidentiality of a defendant’s identity. Thus,

Strike 3 is careful to only proceed to litigation with strong cases, when it has a good faith basis

for doing so, and to enforce its rights in a way that is mindful of a defendant’s privacy interests.

       Strike 3 is a successful adult entertainment company that makes nearly all of its revenue

from sales of subscriptions, DVDs and licenses. Id. at ¶ 37. Strike 3’s goal is to deter piracy

(and seek redress for its harmful consequences) and direct those who infringe content to the

avenue of legitimately acquiring access to Strike 3’s works. Id.

       III. ARGUMENT
       A. Legal Standard Governing Expedited Discovery Requests To Identify An
          Anonymous Defendant

       “Although the First Circuit has not addressed the proper standard for determining [when]

expedited discovery [is warranted], judges of this Court have allowed it in cases where plaintiffs

seek to identify unknown defendants.” Breaking Glass Pictures v. Swarm Sharing Hash File

SHA1: £973F491D02C1E0220DBC534D8F8EDC15FC53FAEF, No. 13-10735 (PBS), 2013

WL 2407226, at *3 (D. Mass. May 1, 2013) (collecting cases). “In cases involving as-yet-

unknown defendants, in which the plaintiff cannot serve its complaint—much less confer with

the defendant—without obtaining identifying information from a third party, ‘the only potential




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avenue for discovery is [a court order under] Rule 26(d)(1).’”2 Strike 3 Holdings, LLC v. Doe,

964 F.3d 1203, 1207 (D.C. Cir. 2020) (citation omitted)).

       “Issuing subpoenas to reveal the identity of the individual behind an IP address is

prevalent in litigation surrounding copyright infringement as a result of illegally downloaded

media.” Viken Detection Corp. v. Doe, No. 19-12034 (NMG), 2019 WL 5268725, at *1 (D.

Mass. Oct. 17, 2019). Accordingly, courts often apply the analysis outlined in Sony Music Entm't

Inc. v. Does 1-40, 326 F. Supp. 2d 556 (S.D.N.Y. 2004) to determine whether to authorize early

discovery, which weighs:

       (1) a concrete showing of a prima facie claim of actionable harm, (2) specificity
       of the discovery request, (3) the absence of alternative means to obtain the
       subpoenaed information, (4) a central need for the subpoenaed information to
       advance the claim, and (5) the party's expectation of privacy.

London-Sire Recs., Inc. v. Doe 1, 542 F. Supp. 2d 153, 164 (D. Mass. 2008); Viken Detection

Corp., No. 19-12034 (NMG), 2019 WL 5268725 at *1–2. “Because good cause supports the

plaintiff's request, at least insofar as it seeks the relevant subscriber's name and address, it should

be allowed.” Breaking Glass Pictures, No. 13-10735 (PBS), 2013 WL 2407226 at *3.




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  As noted in Court of Appeals for the District of Columbia, the Federal Rules were amended in
2015 to remove the “good cause” standard “and replaced it with the overarching relevance and
proportionality standard . . . .” Strike 3 Holdings, LLC v. Doe, 964 F.3d 1203, 1207 n.2 (D.C.
Cir. 2020). Nevertheless, courts “have continued to look to the good cause factors in analyzing
motions for expedited discovery.” See Strike 3 Holdings, LLC v. Doe, No. 20-5123 (KSM), 2020
WL 6342770, at *1 (E.D. Pa. Oct. 29, 2020); see also Higgins v. Huhtamaki, Inc., No. 21-00369
(NT), 2022 WL 523344, at *1 n.3 (D. Me. Feb. 21, 2022) (“Even though the current version of
rules ‘does not say so, it is implicit that some showing of good cause should be made to justify’
an order permitting early discovery.”) (citation omitted); McMann v. Doe, 460 F. Supp. 2d 259,
265 (D. Mass. 2006). Strike 3 presents good cause standard outlined in Sony here because
several of those factors address the relevance and proportionality of Plaintiff’s request, and thus
discovery is appropriate under either standard.
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       B. There Is Good Cause for this Court to Grant Plaintiff’s Motion for Leave to Serve Its
          Subpoena

           1. Plaintiff’s Complaint Makes a Prima Facie Claim for Direct Copyright
              Infringement

       To make a prima facie claim for copyright infringement,3 Plaintiff must show

(1) ownership of a valid copyright, and (2) copying of constituent elements of the work that are

original. Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). Plaintiff’s

Complaint accomplishes this, stating: (1) “Plaintiff is the owner of the Works, which [are] an

original work of authorship”; (2) “[d]efendant copied and distributed the constituent elements of

Plaintiff’s Works using the BitTorrent protocol”; and (3) “[a]t no point in time did Plaintiff

authorize, permit or consent to Defendant’s distribution of its Works, expressly or

otherwise.” See Complaint at ¶¶ 48–50.

       Plaintiff owns a valid copyright in the Works, which are registered with the United States

Copyright Office. See 17 U.S.C. § 410(c); Fourth Est. Pub. Benefit Corp. v. Wall-Street.com,

LLC, 139 S. Ct. 881, 888, 203 L. Ed. 2d 147 (2019); see also Complaint at ¶¶ 42, 45. Plaintiff’s

prima facie allegations of infringement are attested to by Plaintiff’s investigator, David

Williamson, who used Plaintiff’s forensic software to track and record BitTorrent activity. See

Decl. Williamson. Finally, each digital file has been verified to be a copy of one of Plaintiff’s

copyrighted Works. See Declaration of Susan B. Stalzer, Exhibit “C.” Thus, “[t]hrough [its]

investigator, [Strike 3 has] produced evidence that the files were, in fact, available for

download.” London-Sire Recs., 542 F. Supp. 2d at 169.

       Plaintiff has also made a plausible prima facie showing of “copying.” The word “copying


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  The Court in London Sires noted that this factor contains three parts: (1) a plaintiff must show
an “actionable harm,” here copyright infringement; (2) prima facie evidence in support of the
claim; and (3) and that “both the claim and the prima facie evidence supporting it must be
“‘concrete.’” London-Sire Recs., Inc. v. Doe 1, 542 F. Supp. 2d 153, 164 (D. Mass. 2008).
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is a shorthand reference to the act of infringing any of the copyright owner's exclusive rights set

forth at 17 U.S.C. § 106.” Crosby Legacy Co., LLC v. TechnipFMC PLC, No. 18-10814 (MLW),

2021 WL 4452867, at *25 (D. Mass. Sept. 29, 2021) (citation omitted). Plaintiff’s Complaint

alleges that Doe Defendant not only downloaded Plaintiff’s works over the BitTorrent network,

see 17 U.S.C. § 106(1), but also distributed these files to the BitTorrent swarm. See id. § 106(3);

see also Complaint at ¶ 39. Strike 3 “need not actually prove their case at this stage; [it] need

only present evidence adequate to allow a reasonable fact-finder to find that each element of

their claim is supported. [It] ha[s] done so.” London-Sire Recs., 542 F. Supp. 2d at 175 (citation

omitted).

            2. Plaintiff Identifies the Limited and Specific Information Its Subpoena Seeks That
               Is Necessary to Serve Doe Defendant

       “Strike 3 seeks only the name and address of the subscriber associated with the

defendant’s IP address, which is a limited and highly specific set of facts.” Strike 3 Holdings,

LLC v. Doe, No. 18-5586 (LAK)(KNF), 2018 WL 5818100, at *1 (S.D.N.Y. Oct. 15, 2018). The

subscriber’s identity and address have been described by courts as “highly specific,” Malibu

Media, LLC v. Doe, No. 14-4808 (JS)(SIL), 2016 WL 4574677, at *6 (E.D.N.Y. Sept. 1, 2016)

(collecting cases), and “[t]he subpoenaed information is only needed to advance Plaintiff to the

service of process stage, and is sufficiently specific to accomplish that end.” Strike 3 Holdings,

LLC v. Doe, No. 19-5818 (AT)(JLC), 2019 WL 5459693, at *3 (S.D.N.Y. Oct. 9, 2019) (citation

omitted) (emphasis original); see also Breaking Glass Pictures, No. 13-10735 (PBS), 2013 WL

2407226 at *4..

            3. There Are No “Alternative Means” to Uncover Doe Defendant’s True Identity

       Plaintiff has only a limited view into Defendant’s true identity, only having access to the

offending IP address. Indeed “BitTorrent software is ‘largely anonymous’ except insofar as it


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requires a user to broadcast the user's IP address.” Strike 3 Holdings, LLC v. Doe, No. 21-10092

(AJN)(KHP), 2021 WL 5810934, at *2 (S.D.N.Y. Dec. 6, 2021) (citation omitted). “At this time,

Plaintiff is only able to identify John Doe with reference to his or her IP address. Once supplied

with the date and time of the alleged infringement, ISPs are able to use their subscriber logs to

identify the particular individual associated with the IP address.” Strike 3 Holdings, LLC v. Doe,

329 F.R.D. 518, 520 (S.D.N.Y. 2019) (citation omitted). “Only the ISP has any record of which

IP addresses were assigned to which users.” London-Sire Recs., 542 F. Supp. 2d at 179; BMG

Rights Mgmt. (US) LLC v. Cox Commc'ns, Inc., 881 F.3d 293, 299 (4th Cir. 2018) (“[O]nly the

ISP can match the IP address to the subscriber's identity.”). “Here, there is good cause for

expedited discovery because the Plaintiff has no other means of determining the identity of its

defendants.” Patrick Collins, Inc. v. Does 1-79, 286 F.R.D. 160, 163 (D. Mass. 2012).


           4. The Subpoenaed Information Is Necessary to Advance Plaintiff’s Infringement
              Claim

       “[T]here is good cause for early discovery because the plaintiff has no other means of

identifying the proper defendant.” Breaking Glass Pictures, No. 13-10735 (PBS), 2013 WL

2407226 at *4. “[I]t is evident that the plaintiffs need the information in order to further the

litigation. Without names and addresses, the plaintiffs cannot serve process, and the litigation can

never progress.” London-Sire Recs., 542 F. Supp. 2d at 179.

           5. Defendant’s Minimum Privacy Interest Is Substantially Outweighed by Plaintiff’s
              Interest in Protecting Its Copyrights from Mass BitTorrent Infringers

       Lastly, Defendant’s “expectation of privacy for sharing copyrighted [material] through an

online file-sharing network as simply insufficient to permit him to avoid having to defend against

a claim of copyright infringement.” Arista Recs., LLC v. Doe 3, 604 F.3d 110, 124 (2d Cir.

2010). “[T]he alleged infringers have only a thin First Amendment protection.” London-Sire


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Recs., 542 F. Supp. 2d at 179. “Moreover, many internet service providers require their users to

acknowledge as a condition of service that they are forbidden from infringing copyright owners'

rights, and that the ISP may be required to disclose their identity in litigation.” See id.; see also

United States v. Morel, 922 F.3d 1, 9 (1st Cir. 2019) (“[A party does] not have a reasonable

expectation of privacy in the IP address information[.]”). Accordingly, all factors weigh in favor

of good cause, and the Court should grant leave for limited, early discovery.


       C. Protective Order

       In some BitTorrent cases involving adult content, courts have found it appropriate to

issue a protective order establishing procedural safeguards such as allowing a defendant to

proceed pseudonymously. See e.g., Viken Detection Corp., No. 19-12034 (NMG), 2019 WL

5268725 at *2 (collecting cases). Strike 3 respectfully encourages the Court to establish such

procedures here, should the Court find it appropriate.

       IV. CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests this Court grant leave to Plaintiff

to issue a Rule 45 subpoena to Defendant’s ISP.

Dated: 03/13/2024                             Respectfully submitted,

                                              By:      /s/ Jacqueline M. James
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